
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NOS. 2-07-055-CR

2-07-056-CR

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BRANDON TRAE COOK &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;	 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;				APPELLANT



V.

THE STATE OF TEXAS	STATE

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FROM CRIMINAL DISTRICT 
COURT NO. 1 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion to Dismiss Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
See id.;
 
Tex. R. App. P.
 43.2(f). 																																		PER CURIAM



PANEL D:	
WALKER, J.; CAYCE, C.J.;
 and MCCOY, J.



DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: June 7, 2007							

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




